                                           CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                           Before the Honorable Jerry H. Ritter
                                             Arraignment/Detention Hearing
Case Number:              22-298 JB                               UNITED STATES vs. Tohe
Hearing Date:             3/28/2022                               Time In and Out:          10:18 am-10:24 am
Courtroom Deputy:         C. Lopez                                Digital Recording:        Rio Grande
Defendant:                Chadyne Tohe                            Defendant’s Counsel:      Todd Bullion
AUSA:                     Kyle Nayback                            Pretrial/Probation:       Mindy Pirkovic
Interpreter:
Proceedings
☐     First Appearance by Defendant
☐     Defendant waived appearance at Arraignment
☒     Defendant received a copy of charging document
☒     Defendant questioned re: time to consult with attorney regarding penalties
☒     Defendant waives reading of Indictment
☒     Defendant enters a Not Guilty plea
☒     Motions due by: Sunday, April 17, 2022
                                                                                            Discovery Order not entered;
      Parties agree Standing Discovery             Discovery Order previously
☒                                          ☐                                            ☐   parties to confer pursuant to Rule
      Order to be electronically entered           entered
                                                                                            16.1(a) within 14 days
☒     Case assigned to: Judge Browning
☒     Trial will be scheduled by presiding judge                  ☐ Trial currently set
☒     Defendant waives Detention Hearing
Custody Status
      Defendant remanded to custody of United States
☒     Marshal's Service
☐     Conditions
Other
☐
